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                 4 PAGES
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            8                              UNITED STATES BANKRUPTCY COURT

            9                                EASTERN DISTRICT OF CALIFORNIA

           10                                      SACRAMENTO DIVISION

           11    In re:                                          CASE NO.: 20-24123-E-11
                                                                 Chapter 11
           12    RUSSELL WAYNE LESTER, an
                 individual, dba Dixon Ridge Farms,              DCN: FWP-2
           13
                                    Debtor in Possession.       Date:      September 17, 2020
           14                                                   Time:      11:00 a.m.
                                                                Courtroom: 33 – Honorable Ronald H. Sargis
           15                                                              501 I Street, 6th Floor
                                                                           Sacramento, CA
           16
                        NOTICE OF FINAL HEARING ON DEBTOR IN POSSESSION'S EMERGENCY
           17        MOTION FOR AN ORDER (A) AUTHORIZING INTERIM AND FINAL USE OF
                         CASH COLLATERAL; (B) GRANTING REPLACEMENT LIENS; AND
           18       (C) SCHEDULING FINAL HEARING PURSUANT TO BANKRUPTCY RULE 4001
           19     TO ALL INTERESTED PARTIES AND THEIR COUNSEL OF RECORD:
           20             NOTICE IS HEREBY GIVEN that a final hearing ("Hearing") will be held on

           21    September 17, 2020, at 11:00 a.m., or as soon thereafter as the matter may be heard, in the

           22    Courtroom of the Honorable Ronald H. Sargis, United States Bankruptcy Judge, 501 I Street,

           23    Courtroom 33, Sacramento, California, 95814, on the Emergency Motion for an Order (A)

           24    Authorizing Interim and Final Use of Cash Collateral; (B) Granting Replacement Liens; and (C)

           25    Scheduling Final Hearing Pursuant to Bankruptcy Rule 4001 (the "Motion") submitted by the

           26    above-captioned debtor in possession (the "Debtor in Possession").

           27             NOTICE IS FURTHER GIVEN that by the Motion, the Debtor in Possession is

           28    requesting entry of an order:

                                                                       Notice of Final Hearing on Emergency Motion for Authority to
                                                               -1-                                             Use Cash Collateral
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            1              a.    approving the use of cash collateral at the f i n a l hearing;

            2              b.    authorizing the use of cash collateral on terms prescribed by the Court;

            3              c.    granting such other and further relief as the Court deems just and proper under

            4    the circumstances.

            5              NOTICE IS FURTHER GIVEN that all of the information contained in the Motion is

            6    not set forth in this notice. A copy of the Motion and all supporting papers are a part of the

            7    Court's electronic record, which is the official record of the Court, and can be accessed either

            8    through the e-CalWebPACER information system (see http://www.caeb.uscourts.gov/ --

            9    subscription required) or is available for inspection at computer terminals (printing is available),

           10    which are located at the Office of the Clerk, Suite 3-200, 501 I Street, Sacramento, California.

           11    Counsel for the debtor in possession will also post this notice, the motions, and supporting

           12    documents on its web page, which may be accessed as follows: go to www.ffwplaw.com, then

           13    click the cases button (last button in the top right-hand corner of the home page), then click on the

           14    link to the following web address: https://ffwplaw.sharefile.com/login.aspx; then type the

           15    following in the Second box "cases@ffwplaw.com" (without quotes) and then type in the second

           16    password box "FFWPRlaw!Password1" (again without quotes). Then click on the "Log In"

           17    button; then click Dixon Ridge Farms, and then click on the document that you would like to

           18    review.

           19              NOTICE IS FURTHER GIVEN that your rights may be affected. You should read

           20    these papers carefully and discuss them with your attorney, if you have one in this bankruptcy

           21    case. If you do not have an attorney, you may wish to consult one.

           22              NOTICE IS FURTHER GIVEN that the Motion is filed pursuant to Local Rule of

           23    Practice 9014-1(f)(1) and the Court's to be entered Order On Debtor In Possession's Emergency

           24    Motion For An Order (A) Authorizing Interim And Final Use Of Cash Collateral; (B) Granting

           25    Replacement Liens; And (C) Scheduling Final Hearing Pursuant To Bankruptcy Rule 4001. Any

           26    opposition to the granting of the relief sought in the Motion must be filed by September 14, 2020,

           27    by 2:00 p.m. If you do not want the Court to approve the Motion, or if you want the Court to

           28    consider your views on the Motion, you or your attorney must attend the hearing scheduled on

                                                                                              Notice of Final Hearing Emergency
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            1    September 17, 2020, at 11:00 a.m., to be held electronically at the United States Bankruptcy

            2    Court, 501 I Street, Courtroom 33, Sacramento, California, 95814, before the Honorable Ronald

            3    H. Sargis, United States Bankruptcy Judge. Failure to oppose the relief requested in the Motion

            4    may constitute a waiver of your objections.

            5           PLEASE TAKE FURTHER NOTICE that effective immediately until further notice by

            6    the Court (See General Order 618), all court hearings will be held telephonically, unless

            7    otherwise ordered by the Chief Judge of the Bankruptcy Court. For specific information about the

            8    operations of the Bankruptcy Court during this time, please see Chief Judge Sargis' Notice of

            9    Restricted Courthouse Access and Required Telephonic Appearances for Counsel and Parties,

           10    which is generally set forth in the next notice paragraph.

           11           PLEASE TAKE FURTHER NOTICE that if you are a pro se debtor or creditor (a

           12    debtor or creditor without a lawyer), you may appear in Court telephonically by calling Court

           13    Call, a third-party service at 1-866-582-6878. The Court understands that pro se debtors may use

           14    this service without charge for now, but the Court urges you to check with Court Call. If you

           15    would like to file a document, please file it by mail. Check the Court's website for the mailing

           16    addresses of the Court's divisional offices. You may also file a document by bringing it to the

           17    Court and leaving it in a drop box the Court has in its lobby. Court Security Officers will show

           18    you where the drop box is located. The Court asks that you do not put cash in the drop box. If you

           19    do leave cash in the drop box, the Court will not return any change due. Cashier's checks and

           20    money orders will be accepted. If you are an attorney, please use Court Call to telephonically

           21    appear in court hearings. Court Call's number is 1-866-582-6878. The Court understands that

           22    wait-times are longer than usual, so please give yourself plenty of time. Any future changes or

           23    updates will be posted on the Court's website and communicated as appropriate.

           24           NOTICE IS FURTHER GIVEN that interested parties can determine whether the matter

           25    has been resolved without oral argument or whether the Court has issued a tentative ruling, and

           26    can view any pre-hearing dispositions by checking the Court's website at www.caeb.uscourts.gov

           27    after 4:00 p.m. the day before the hearing. Parties appearing telephonically must view the pre-

           28    hearing dispositions prior to the hearing.

                                                                                            Notice of Final Hearing Emergency
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            1           If you or your attorney do not take these steps, the Court may decide that you do not

            2    oppose the relief sought in the Motion and may enter orders granting the relief requested.

            3

            4    Dated: September 2, 2020
                                                      FELDERSTEIN FITZGERALD
            5                                         WILLOUGHBY PASCUZZI & RIOS LLP
            6
                                                   By: __/s/ Thomas A. Willoughby_________________
            7                                         THOMAS A. WILLOUGHBY
                                                      Proposed Attorneys for Debtor in Possession
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                                                                                             Notice of Final Hearing Emergency
                                                                -4-                   Motion for Authority to Use Cash Collateral
